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                                  ID #:182792




                   EXHIBIT A




                                                                          Exhibit A
                                                                           Page 1
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                                                           ID #:182793

  From:                 Jared Bunker
  To:                   Bor-Zale, James
  Cc:                   WH Apple-Masimo Service List; Apple-Masimo; *** Apple-Masimo; Masimo.Apple
  Subject:              RE: Masimo v Apple (Cal) - Proposed Pretrial Schedule
  Date:                 Tuesday, October 1, 2024 2:23:19 PM



  EXTERNAL SENDER

  James,

  This responds to several items raised in your email below.

  We will review Apple’s proposed edits to the pretrial orders and respond at the appropriate time.

  We maintain that briefing the parties’ disputes regarding the previous motions in limine is the most
  efficient and effective approach, and as you know, Masimo filed its motion regarding the first two issues
  identified in my earlier email. Moreover, for the reasons outlined in our motion, we disagree with
  Apple’s position regarding MIL No. 2, and we disagree that evidence related to Dr. O’Reilly is irrelevant.

  We maintain that Masimo’s list of will/may call live is appropriate. If Apple has any legal support for its
  objection to Masimo’s witness list, please provide it. Please let us know promptly if Apple is refusing to
  produce any of the Apple employees on Masimo’s will/may call list.

  Apple’s objection to the inclusion of documents and deposition transcripts from the Delaware case is
  misplaced. The parties agreed to cross-use of the documents produced in the Delaware case, as well
  as the transcripts for up to 20 identified fact witness depositions from the Delaware case. Dkt. 1945 at
  3. We hereby identify Eric Jue, Mark Rollins, and Vivek Venugopal as three such fact witnesses.

  To streamline the evidence at trial, Masimo withdraws its deposition designations for Sumbal Desai and
  Jesse Kirkpatrick.

  Sincerely,
  Jared

  Jared Bunker
  Partner
  949-721-2957 Direct
  Knobbe Martens

  From: Bor-Zale, James <James.Bor-Zale@wilmerhale.com>
  Sent: Sunday, September 29, 2024 12:58 PM
  To: Jared Bunker <Jared.Bunker@knobbe.com>
  Cc: WH Apple-Masimo Service List <WHApple-MasimoServiceList@wilmerhale.com>; Apple-Masimo <apple-
  masimo@haynesboone.com>; *** Apple-Masimo <Apple-Masimo@gibsondunn.com>; Masimo.Apple
  <Masimo.Apple@knobbe.com>
  Subject: Re: Masimo v Apple (Cal) - Proposed Pretrial Schedule


  Jared,




                                                                                                                    Exhibit A
                                                                                                                     Page 2
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                                            ID #:182794

  We are reviewing the language in the plaintiffs’ drafts of the pretrial orders regarding demonstratives,
  exhibits, and deposition testimony admitted during the April 2023 trial and will provide you our
  proposed edits. Evidence presented by plaintiffs in support of their business trade secret claim at the
  prior trial should be excluded from the retrial as those claims have now been dismissed and that
  evidence, including any evidence related to Dr. O’Reilly, is now irrelevant.

  We agree that if the Court maintains the jury trial, the parties should be precluded from presenting to
  the jury any rulings, dispositions, claim or defense narrowing, or outcomes from the April 2023 trial and
  any other proceedings, consistent with the Court’s ruling on Apple’s MIL No. 1.

  Regarding the areas of disagreement, we clarify that with respect to #2 in your email, Apple’s position is
  that the Court’s MIL rulings do apply. The Court did not change its MIL ruling during the trial as you
  suggest but rather found the door had been opened to evidence that would be excluded under the
  ruling. Consistent with the MIL ruling itself, Plaintiffs should not be permitted to present evidence
  regarding employees other than Marcelo Lamego unless the door is again opened.

  We also object to the number of witnesses identified on Plaintiffs’ witness list. Plaintiffs have added as
  live witnesses five Apple employees who did not previously testify at the first trial (Han, Sellers, Shui,
  Mannheimer, and Zheng). The Court has made clear that the retrial will be shorter, not longer, than the
  first. Plaintiffs’ expansion of witnesses seems calculated to cause undue burden and wasted time for
  Apple, and is unrealistic in terms of timing given that the issues for retrial have only narrowed. We also
  object to Plaintiffs’ inclusion of deposition designations and exhibits from the Delaware action, as there
  is no agreement to cross-use, and the protective order in the Delaware action specifically provides that
  “Protected Material designated under the terms of this Protective Order shall be used by a Receiving
  Party solely for these cases, and shall not be used directly or indirectly for any other purpose
  whatsoever.” See Delaware Action, Dkt. 119.

  Apple believes that burdening the Court with three rounds of uninvited briefing on these disputes would
  not be appropriate, particularly as at least one may be mooted by the Court’s decision on already-
  pending issues. Apple reiterates its proposal that the parties request a telephonic status hearing after
  Judge Selna rules on the jury trial issues.

  Regards,
  James

  James Bor-Zale | WilmerHale
  +1 617 526 6079 (t)

  From: Jared Bunker <Jared.Bunker@knobbe.com>
  Sent: Tuesday, September 24, 2024 7:23:22 PM
  To: Bor-Zale, James <James.Bor-Zale@wilmerhale.com>
  Cc: WH Apple-Masimo Service List <WHApple-MasimoServiceList@wilmerhale.com>; Apple-Masimo <apple-
  masimo@haynesboone.com>; *** Apple-Masimo <Apple-Masimo@gibsondunn.com>; Masimo.Apple
  <Masimo.Apple@knobbe.com>
  Subject: RE: Masimo v Apple (Cal) - Proposed Pretrial Schedule


  EXTERNAL SENDER


                                                                                                      Exhibit A
                                                                                                       Page 3
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                                                   ID #:182795



  James,

  Thanks for the call yesterday.

  Regarding demonstratives, exhibits, and deposition testimony admitted during the April 2023 trial, we seem to
  be on the same page. We will propose language in the draft pretrial orders we will serve tomorrow. Your side
  can respond to the language.

  We also agreed that if this is a jury trial, the parties will be precluded from presenting to the jury any rulings,
  dispositions, claim narrowing, or outcomes from the April 2023 trial.

  Regarding the MILs and the Tim Cook issue, we understand the parties have three disagreements:

    1.  For a bench trial, we don’t think the Court’s MIL rulings for the April 2023 trial on these motions should
            or need to apply to this trial; Apple’s position is that they do and should.
    2.  Based on the Court’s trial MIL ruling, Masimo’s position is that it can present evidence of Apple’s
            recruiting Masimo and Cercacor employees other than Michael O’Reilly and Marcelo Lamego; Apple’s
            position is that the Court’s trial MIL ruling does not apply and Masimo may present that evidence only if
            Apple opens the door again at this trial.
    3.  Apple’s position is that because Masimo agreed not to open the door to smart recruiting in the April
            2023 trial, Masimo may not introduce evidence of smart recruiting in this trial; Masimo disagrees and
            maintains that it is not precluded from introducing evidence of smart recruiting in this trial and intends
            to do so.

  Regarding how to present these issues to the Court, we originally suggested presenting them in briefs that
  follow the MIL schedule. Your team suggested asking the Court for a hearing to discuss the issues. We said
  we’d consider the issue further and respond. After considering it further, we don’t think burdening the Court
  with a hearing on these issues is appropriate. We don’t think the Court will appreciate the parties trying to
  address these issues through an additional hearing before the pretrial conference. We think that short briefs
  addressing Issue Nos. (1) and (2) are appropriate, and because those issues are MIL-related, we also think it’s
  appropriate to follow the MIL briefing schedule. Masimo would address Issue Nos. (1) and (2) in an opening
  brief on Monday, and Apple can respond on 10/7; and Masimo would reply on 10/14. We would organize the
  briefs and include them with the pretrial conference order.

  Regarding how to present Issue No. (3) to the Court, again, we don’t think the Court will appreciate an
  additional hearing on that issue before the pretrial conference. But please provide Apple’s position on how the
  parties should present the issue to the Court.

  Sincerely,
  Jared

  Jared Bunker
  Partner
  949-721-2957 Direct
  Knobbe Martens

  From: Bor-Zale, James <James.Bor-Zale@wilmerhale.com>
  Sent: Sunday, September 22, 2024 6:35 PM


                                                                                                                Exhibit A
                                                                                                                 Page 4
Case 8:20-cv-00048-JVS-JDE                 Document 2136-2             Filed 10/08/24         Page 5 of 17 Page
                                                ID #:182796

  To: Jared Bunker <Jared.Bunker@knobbe.com>
  Cc: WH Apple-Masimo Service List <WHApple-MasimoServiceList@wilmerhale.com>; Apple-Masimo <apple-
  masimo@haynesboone.com>; *** Apple-Masimo <Apple-Masimo@gibsondunn.com>; Masimo.Apple
  <Masimo.Apple@knobbe.com>
  Subject: RE: Masimo v Apple (Cal) - Proposed Pretrial Schedule

  Jared,

  We are available to meet and confer at 2:30pm PT. To preview Apple’s position: We object to Masimo reneging on
  agreements from the original trial and attempting to violate the Court’s prior rulings.

  Thanks,
  James



  James Bor-Zale | WilmerHale
  +1 617 526 6079 (t)

  From: Jared Bunker <Jared.Bunker@knobbe.com>
  Sent: Saturday, September 21, 2024 7:17 PM
  To: Bor-Zale, James <James.Bor-Zale@wilmerhale.com>
  Cc: WH Apple-Masimo Service List <WHApple-MasimoServiceList@wilmerhale.com>; Apple-Masimo <apple-
  masimo@haynesboone.com>; *** Apple-Masimo <Apple-Masimo@gibsondunn.com>; Masimo.Apple
  <Masimo.Apple@knobbe.com>
  Subject: RE: Masimo v Apple (Cal) - Proposed Pretrial Schedule


  EXTERNAL SENDER



  James,

  This responds further to your September 19 email.

  Regarding the MILs and agreements/rulings, we think it's important to be precise about the
  agreements/rulings so there are no misunderstandings. Below, we provide our initial thoughts and positions:

    1.  Bench Trial
            1.  Masimo MIL / Apple MIL Nos. 1-4: We don't think the Court's MIL rulings for the April 2023 trial on
                these motions should or need to apply to this trial.
            2.  Agreements/rulings
                  1.  Demonstratives, exhibits, deposition testimony admitted during the April 2023 trial: to
                      reduce the burden on the parties and the Court, we propose the parties agree that all
                      demonstratives, exhibits, and deposition testimony admitted during the April 2023 trial can
                      be admitted without objection in this trial.
                  2.  Agreement re: Tim Cook as referenced in footnote 1 of Apple's Witness List: We are fine
                      applying the same agreement from the April 2023 trial in this trial. To be clear, Masimo's
                      interrogatory responses still stand and we plan to introduce evidence of "smart recruiting"
                      at trial, so we understand Apple will be bringing Tim Cook live.
    2.  Jury Trial



                                                                                                            Exhibit A
                                                                                                             Page 5
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                                                  ID #:182797

            1.  Masimo MIL / Apple MIL Nos. 1-4: We agree that the Court's pre-trial and trial MIL rulings for the
                 April 2023 trial on these motions apply to this trial. The parties would preserve all rights to appeal
                 these rulings.
                   1.  Please confirm Apple agrees that the parties are precluded from presenting to the jury any
                        rulings, dispositions, claim narrowing, or outcomes from the April 2023 trial.
                   2.  For the avoidance of doubt, the Court's trial MIL rulings include the Court's trial ruling that
                        Masimo can present evidence of Apple's recruiting Masimo and Cercacor employees other
                        than Michael O'Reilly and Marcelo Lamego.
            2.  Agreements/rulings
                   1.  Demonstratives, exhibits, deposition testimony admitted during the April 2023 trial: to
                        reduce the burden on the parties and the Court, we propose the parties agree that all
                        demonstratives, exhibits, and deposition testimony admitted during the April 2023 trial can
                        be admitted without objection in this trial.
                   2.  Agreement re: Tim Cook as referenced in footnote 1 of Apple's Witness List: We are fine
                        applying the same agreement from the April 2023 trial in this trial. Again, to be clear,
                        Masimo's interrogatory responses still stand and we plan to introduce evidence of "smart
                        recruiting" at trial, so we understand Apple will be bringing Tim Cook live.

  We can discuss these on Monday. If Apple thinks there are other agreements/rulings, please identify them,
  and we can discuss them. We also agree that additional MILs are unnecessary.

  As I mentioned, we are available at 2:30 p.m. on Monday. If that time works for you, please let me know, and I
  can send a meeting invite with a videoconference link.

  Sincerely,
  Jared


  Jared Bunker
  Partner
  949-721-2957 Direct
  Knobbe Martens

  From: Jared Bunker <Jared.Bunker@knobbe.com>
  Sent: Friday, September 20, 2024 4:22 PM
  To: Bor-Zale, James <James.Bor-Zale@wilmerhale.com>; Passamaneck, Nora Q.E.
  <Nora.Passamaneck@wilmerhale.com>; WH Apple-Masimo Service List <WHApple-
  MasimoServiceList@wilmerhale.com>; Apple-Masimo <apple-masimo@haynesboone.com>; *** Apple-Masimo
  <apple-masimo@gibsondunn.com>
  Cc: Masimo.Apple <Masimo.Apple@knobbe.com>
  Subject: RE: Masimo v Apple (Cal) - Proposed Pretrial Schedule


  James, we intend to call them live. Also, we plan to respond to the rest of your email later tonight or this
  weekend. Finally, are you available to confer on Monday at 2:30pm?

  Jared Bunker
  Partner
  949-721-2957 Direct
  Knobbe Martens



                                                                                                               Exhibit A
                                                                                                                Page 6
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                                                   ID #:182798

  From: Bor-Zale, James <James.Bor-Zale@wilmerhale.com>
  Sent: Friday, September 20, 2024 3:20 PM
  To: Jared Bunker <Jared.Bunker@knobbe.com>; Passamaneck, Nora Q.E. <Nora.Passamaneck@wilmerhale.com>;
  WH Apple-Masimo Service List <WHApple-MasimoServiceList@wilmerhale.com>; Apple-Masimo <apple-
  masimo@haynesboone.com>; *** Apple-Masimo <apple-masimo@gibsondunn.com>
  Cc: Masimo.Apple <Masimo.Apple@knobbe.com>
  Subject: Re: Masimo v Apple (Cal) - Proposed Pretrial Schedule


  Jared,

  Further to our email below, please confirm today by 5pm PT whether Plaintiffs intend to call Chinsan Han, Denby
  Sellers, Tao Shui, Paul Mannheimer, and Dong Zheng on a “may call live” or “may call by deposition” basis.

  Thanks,
  James



  James Bor-Zale | WilmerHale
  +1 617 526 6079 (t)

  From: Bor-Zale, James
  Sent: Thursday, September 19, 2024 7:48:18 PM
  To: Jared Bunker <Jared.Bunker@knobbe.com>; Passamaneck, Nora Q.E. <Nora.Passamaneck@wilmerhale.com>;
  WH Apple-Masimo Service List <WHApple-MasimoServiceList@wilmerhale.com>; Apple-Masimo <apple-
  masimo@haynesboone.com>; *** Apple-Masimo <apple-masimo@gibsondunn.com>
  Cc: Masimo.Apple <Masimo.Apple@knobbe.com>
  Subject: RE: Masimo v Apple (Cal) - Proposed Pretrial Schedule


  Jared,

  Thank you for the summary. Our responses are as follows:

           Prior MILs and agreements/rulings. We look forward to Masimo’s response on Apple’s positions. Please
           provide some windows that work for the Monday meet and confer.

           Jury Instructions/verdict form. The proposed dates of October 7 for Masimo’s draft and October 14 for
           Apple’s edits and responses work for us. We also agree that yesterday’s call satisfies our meet and confer
           obligations on jury instructions.

           Pretrial order. We look forward to reviewing Masimo’s draft on 9/25 and the approach below works for us.

           Deposition designations for identified live witnesses. We agree that the parties should follow the prior
           agreement here.

  One more issue on Masimo’s witness list as noted, Masimo’s witness list includes five Apple witnesses (not on Apple’s
  witness list) whom Masimo “reserves the right to call the below witnesses live or by deposition.” For Chinsan Han,
  Denby Sellers, Tao Shui, Paul Mannheimer, and Dong Zheng, please confirm whether these individuals are may call
  live or may call by deposition.

  Regards,
  James




                                                                                                                 Exhibit A
                                                                                                                  Page 7
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                                                     ID #:182799


  James Bor-Zale | WilmerHale
  +1 617 526 6079 (t)

  From: Jared Bunker <Jared.Bunker@knobbe.com>
  Sent: Wednesday, September 18, 2024 2:57 PM
  To: Passamaneck, Nora Q.E. <Nora.Passamaneck@wilmerhale.com>; WH Apple-Masimo Service List <WHApple-
  MasimoServiceList@wilmerhale.com>; Apple-Masimo <apple-masimo@haynesboone.com>; *** Apple-Masimo
  <apple-masimo@gibsondunn.com>
  Cc: Masimo.Apple <Masimo.Apple@knobbe.com>
  Subject: RE: Masimo v Apple (Cal) - Proposed Pretrial Schedule


  EXTERNAL SENDER



  Joe, Mark, James:

  Thanks for the call for our Rule 16-2 conference. We wanted to memorialize a few things:

            Prior MILs and agreements/rulings. We understand Apple’s position that all prior MILs and
            agreements/rulings are still applicable and that no additional MILs are appropriate. We are considering
            Apple’s position and expect to respond over the weekend so that we can have a productive discussion
            during the meet and confer on Monday. We suggest following the briefing schedule of MILs to address
            and present any disputes to the Court rather than simply waiting for the pretrial conference to raise
            these issues.

            Jury Instructions/verdict form. We agreed that Masimo would send its proposed jury instructions/verdict
            form to your side on October 7 (as included in our proposed pretrial dates). We will use the Court’s jury
            instructions/verdict form as a starting point and edit from there. Apple will provide its edits and
            response on October 14 (as included in our proposed pretrial dates). The parties will work to ensure that
            all objections to jury instructions raised for the first trial are preserved.

                  We believe our call today satisfies the Court’s order to meet and confer regarding jury instructions
                  and objections by September 20. If Defendant disagrees, please let us know.

            Pretrial order. We will send your side a draft next week (as included in our proposed pretrial dates). We
            will use the Court’s order as a starting point and edit from there.

            Deposition designations for identified live witnesses. We proposed that the parties follow their prior
            agreement that each side need not designate deposition testimony for witnesses identified as live
            witnesses. If, however, a live witness does not appear, the opposing party may then designate
            deposition testimony for that witness. You said you would confer with your team and client on this and
            get back to us.

  Sincerely,
  Jared

  Jared Bunker
  Partner



                                                                                                                  Exhibit A
                                                                                                                   Page 8
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                                                  ID #:182800

  949-721-2957 Direct
  Knobbe Martens

  From: Passamaneck, Nora Q.E. <Nora.Passamaneck@wilmerhale.com>
  Sent: Tuesday, September 17, 2024 7:33 AM
  To: Jared Bunker <Jared.Bunker@knobbe.com>; WH Apple-Masimo Service List <WHApple-
  MasimoServiceList@wilmerhale.com>; Apple-Masimo <apple-masimo@haynesboone.com>; *** Apple-Masimo
  <apple-masimo@gibsondunn.com>
  Cc: Masimo.Apple <Masimo.Apple@knobbe.com>
  Subject: RE: Masimo v Apple (Cal) - Proposed Pretrial Schedule

  Jared,

  While we wait for the Court’s ruling on whether the November retrial will be a jury trial (and, if not,
  determination of whether there need be a retrial at all), Apple will agree to proceed with the below deadlines
  (with the exception of jury instructions, addressed in my third paragraph) so that the parties can be prepared
  for any outcome. However, your proposal still does not address several issues I previously raised:

  Whether a jury trial or not, we see no need for further motion-in-limine practice. As I previously explained, the
  parties have already engaged in such motion practice, the Court has ruled, and those orders and the
  stipulations/agreements the parties made with respect to the April 2023 trial remain in effect. To the extent the
  parties have any questions about those rulings, they can raise those questions at the Pretrial Conference on October
  28th. Please be prepared to explain Plaintiffs’ position at the meet-and-confer on Wednesday.

  To the extent there is a jury trial, the Court has already ruled on the jury instructions and verdict form. As I previously
  proposed, we suggest the parties meet and confer to discuss whether there is any need to conform those to the
  elimination of certain issues from this case e.g., Plaintiff’s withdrawal of certain claims). We propose that such meet-
  and-confer occur 5 business days after an order by the Court stating that there will be a jury trial.   Apple further
  proposes that the parties use the prior jury instructions and verdict form as a base (restating both sides’ prior
  objections), with each party proposing edits to the final instructions and verdict form based on an agreed-to
  schedule. If Plaintiffs agree, the parties would (1) simultaneously exchange any new proposed instructions, any new
  objections to existing instructions, and any alterations to their proposed verdict form, and then (2) meet and confer
  on the disputed issues. Please be prepared to explain Plaintiffs’ position at the meet-and-confer on Wednesday.

  We further understand the Final Pretrial Conference Order (to be filed on Oct. 15) will be substantively the same as
  the prior filing (Dkt. 1483) aside from removal of any references related to the dismissed claims regarding the alleged
  business trade secrets, removal of any dropped claims, and any changes to witness lists, exhibit lists and/or
  deposition designations.

  If Plaintiffs have additional issues they would like to discuss before the L.R. 16-2 conference, please identify them by 5
  PST today.

  Thank you,
  Nora

  From: Jared Bunker <Jared.Bunker@knobbe.com>
  Sent: Monday, September 16, 2024 1:07 PM
  To: Passamaneck, Nora Q.E. <Nora.Passamaneck@wilmerhale.com>; WH Apple-Masimo Service List <WHApple-
  MasimoServiceList@wilmerhale.com>; Apple-Masimo <apple-masimo@haynesboone.com>; *** Apple-Masimo
  <apple-masimo@gibsondunn.com>
  Cc: Masimo.Apple <Masimo.Apple@knobbe.com>
  Subject: RE: Masimo v Apple (Cal) - Proposed Pretrial Schedule


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                                                                                                                     Page 9
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EXTERNAL SENDER


Nora,

The vast majority of pretrial dates are the same for a bench trial and a jury trial. Below is our proposal with separate
columns for a bench and jury trial. As you can see, the only date before the end of September that differs is a meet
and confer on jury instructions. We propose the parties follow all dates on this schedule until the Court rules on
whether the trial will be a bench or jury trial. We also propose exchanges take place by 5pm PDT, unless the parties
agree otherwise. Please confirm Apple agrees.

Also, we are available for the Rule 16-2 conference on Wednesday at 10:30am PDT. We will send a meeting invite
with a videoconference link.

Here’s our proposal:

                  Event                        Date - Bench Trial                    Date – Jury Trial
 Witness list                                     9/17/2024                             9/17/2024
 LR 16-2 meet and confer                   9/18/2024 (court ordered)             9/18/2024 (court ordered)
 Exhibit list                                     9/20/2024                             9/20/2024
 Meet and confer re: jury
                                                       n/a                               9/20/2024
 instructions and objections
 Deadline to meet and confer re:
                                                   9/23/2024                             9/23/2024
 MILs
 Exchange exhibits (unendorsed)                    9/24/2024                             9/24/2024
 Depo designations                                 9/24/2024                             9/24/2024
 Masimo serves draft proposed
                                                   9/25/2024                             9/25/2024
 pretrial order
 Opening MILs                                      9/30/2024                             9/30/2024
 Counter depo designations /
                                                   10/1/2024                             10/1/2024
 objections
 Apple’s proposed edits to draft
                                                   10/4/2024                             10/4/2024
 pretrial order
 Masimo to provide draft jury
                                                       n/a                               10/7/2024
 instructions and verdict form
 Opposition MILs                                   10/7/2024                             10/7/2024
 File memo of contentions of fact
                                           10/7/2024 (court ordered)                         n/a
 & law
 Counter-counter depo
                                                   10/8/2024                             10/8/2024
 designations / objections
 Exhibit list objections                          10/8/2024                             10/8/2024
 ADR deadline                             10/10/2024 (court ordered)            10/10/2024 (court ordered)
 Reply MILs                                      10/14/2024                            10/14/2024
 Apple responds to draft jury
                                                       n/a                              10/14/2024
 instructions and verdict form
 File pretrial conference order
 (exhibit list, witness list, status              10/15/2024                            10/15/2024
 report re: settlement);
 Masimo witness statements                10/16/2024 (court ordered)                         n/a
 Apple witness statements                 10/23/2024 (court ordered)                         n/a


                                                                                                                Exhibit A
                                                                                                                Page 10
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 Pretrial conference                       10/28/2024 (court ordered)             10/28/2024 (court ordered)
 File agreed jury instruction and
 verdict forms and joint statement
 re: disputed instructions and
                                                        n/a                       10/28/2024 (court ordered)
 verdict forms; proposed voir dire
 questions and agreed-to
 statement of case
 Trial brief                                      10/28/2024                              10/28/2024
 Objections to witness statements          10/31/2024 (court ordered)                         n/a
 Lodge depo designations                          11/05/2024                              11/05/2024

Thank you,
Jared



Jared Bunker
Partner
949-721-2957 Direct
Knobbe Martens

From: Passamaneck, Nora Q.E. <Nora.Passamaneck@wilmerhale.com>
Sent: Monday, September 16, 2024 8:23 AM
To: Kendall Loebbaka <Kendall.Loebbaka@knobbe.com>; WH Apple-Masimo Service List <WHApple-
MasimoServiceList@wilmerhale.com>; Apple-Masimo <apple-masimo@haynesboone.com>; *** Apple-Masimo
<apple-masimo@gibsondunn.com>
Cc: Masimo.Apple <Masimo.Apple@knobbe.com>
Subject: RE: Masimo v Apple (Cal) - Proposed Pretrial Schedule

Kendall,

Given that both parties recognize the need to engage in pretrial exchanges and the court-ordered LR 16-2 meet and
confer must occur on Wednesday, Plaintiffs’ failure to provide any response whatsoever to the below is inexplicable.
 The parties should proceed with exchanges on the assumption that the November 5 jury retrial will proceed as
scheduled. By noon PST, please confirm whether Plaintiffs will be in a position to exchange witness lists and exhibits
lists by 5:30 PST today. Please further provide a response to the remainder of my email, including confirming the time
for the September 18 LR 16-2 meet and confer and dial in.

Thank you,
Bira

From: Passamaneck, Nora Q.E. <Nora.Passamaneck@wilmerhale.com>
Sent: Wednesday, September 11, 2024 3:43 PM
To: Kendall Loebbaka <Kendall.Loebbaka@knobbe.com>; WH Apple-Masimo Service List <WHApple-
MasimoServiceList@wilmerhale.com>; Apple-Masimo <apple-masimo@haynesboone.com>; *** Apple-Masimo
<apple-masimo@gibsondunn.com>
Cc: Masimo.Apple <Masimo.Apple@knobbe.com>
Subject: RE: Masimo v Apple (Cal) - Proposed Pretrial Schedule

Kendall,

While the parties wait for the Court’s ruling on whether Plaintiffs’ claims will proceed before the Court or a jury, it is
Apple’s position that the parties should work through and agree on as much of the schedule as possible in the event



                                                                                                                  Exhibit A
                                                                                                                  Page 11
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the Court agrees there will be a jury trial. To that end, Apple proposes the following deadlines:

         Event (exchanges to occur at 5:30 PST        Court Ordered         Apple Proposed
         on date provided)                            Date                  Date
         Witness list                                                       9/12/2024
         Exhibit list                                                       9/13/2024
         Exchange exhibits (unendorsed)                                     9/17/2024
         Depo designations                                                  9/18/2024
         LR 16-2 meet and confer (Dkt. 1946)          9/18/2024
         Counter depo designations/objections                               9/25/2024
         Deadline for ADR (Dkt. 1946)                 10/10/2024
         Counter-counter depo                                               10/2/2024
         designations/objections
         Exhibit list objections                                            10/3/2024

For deposition highlighting, we propose the same colors as the parties previously used:    

                                                              Proposed Highlighting
         Depo Designations (Nov. 5 lodging deadline)          Colors
                                                              Masimo       Apple
         Depo. Design.                                         Green       Yellow
         Counter Depo. Design and Obj.                        Blue         Orange
         Counter-Counter Depo. Design. and Obj.               Purple       Pink

For exhibit lists, we reserve the right to object to additions as untimely and/or improper for any reason.

Please confirm you agree to the above.

Thank you,
Nora

From: Kendall Loebbaka <Kendall.Loebbaka@knobbe.com>
Sent: Friday, September 6, 2024 6:06 PM
To: Passamaneck, Nora Q.E. <Nora.Passamaneck@wilmerhale.com>; WH Apple-Masimo Service List <WHApple-
MasimoServiceList@wilmerhale.com>; Apple-Masimo <apple-masimo@haynesboone.com>; *** Apple-Masimo
<apple-masimo@gibsondunn.com>
Cc: Masimo.Apple <Masimo.Apple@knobbe.com>
Subject: RE: Masimo v Apple (Cal) - Proposed Pretrial Schedule


EXTERNAL SENDER


Nora,

Thank you for your email. The Court will shortly rule on whether Masimo’s claims will proceed before the Court or a
jury. Masimo proposes that the parties set a schedule for the earlier exchanges that are agnostic to proceeding
before the Court or a jury. The parties can revisit the remainder of the schedule in a week or two.

Regarding exhibit and witness lists, Masimo agrees the parties should work to remove unnecessary materials from
the lists. Masimo also understands that the parties can include a reasonable volume of additions.




                                                                                                             Exhibit A
                                                                                                             Page 12
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Please see Masimo’s proposal below.

 Event (exchanges to occur at        Court             Masimo          Apple Proposal Masimo New
 5:30 PST on date provided)          Ordered Date      Original                       Proposal
                                                       Proposal
 Witness list                                          9/9/2024        9/6/2024         9/11/2024
 Exhibit list                                          9/11/2024       9/13/2024        9/13/2024
                                                                                        (agreed)
 Exchange exhibits (unendorsed)                        9/13/2024       9/17/2024        9/17/2024
                                                                                        (agreed)
 LR 16-2 meet and confer (Dkt.       9/18/2024
 1946)

Additionally, thank you for providing availability for the September 18 conference. Masimo agrees the conference
can proceed telephonically. Masimo will confirm a time.

Best regards,
Kendall

Kendall Loebbaka
Partner
949-721-7687 Direct
Knobbe Martens




From: Passamaneck, Nora Q.E. <Nora.Passamaneck@wilmerhale.com>
Sent: Thursday, September 5, 2024 1:32 PM
To: Kendall Loebbaka <Kendall.Loebbaka@knobbe.com>; WH Apple-Masimo Service List <WHApple-
MasimoServiceList@wilmerhale.com>; Apple-Masimo <apple-masimo@haynesboone.com>; *** Apple-Masimo
<apple-masimo@gibsondunn.com>
Cc: Masimo.Apple <Masimo.Apple@knobbe.com>
Subject: RE: Masimo v Apple (Cal) - Proposed Pretrial Schedule

Kendall,

In addition to the items below that we are waiting for your response, we understand that the parties’ prior
agreements are still in effect, including the agreement that they may call witnesses of the other party by deposition
regardless of whether those witnesses are within the Court’s subpoena power or otherwise unavailable under FRCP
32. To the extent Plaintiffs disagree please notify us promptly.


From: Passamaneck, Nora Q.E. <Nora.Passamaneck@wilmerhale.com>
Sent: Thursday, September 5, 2024 10:04 AM
To: Kendall Loebbaka <Kendall.Loebbaka@knobbe.com>; WH Apple-Masimo Service List <WHApple-
MasimoServiceList@wilmerhale.com>; Apple-Masimo <apple-masimo@haynesboone.com>; *** Apple-Masimo
<apple-masimo@gibsondunn.com>
Cc: Masimo.Apple <Masimo.Apple@knobbe.com>
Subject: RE: Masimo v Apple (Cal) - Proposed Pretrial Schedule

Kendall,
Please provide a response to the below, as deadlines under either party’s proposals are fast approaching.
Thank you,


                                                                                                              Exhibit A
                                                                                                              Page 13
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Nora

From: Passamaneck, Nora Q.E. <Nora.Passamaneck@wilmerhale.com>
Sent: Tuesday, September 3, 2024 9:23 PM
To: Kendall Loebbaka <Kendall.Loebbaka@knobbe.com>; WH Apple-Masimo Service List <WHApple-
MasimoServiceList@wilmerhale.com>; Apple-Masimo <apple-masimo@haynesboone.com>; *** Apple-Masimo
<apple-masimo@gibsondunn.com>
Cc: Masimo.Apple <Masimo.Apple@knobbe.com>
Subject: RE: Masimo v Apple (Cal) - Proposed Pretrial Schedule

Kendall,

Thank you for providing a proposed pretrial exchange schedule.

As a threshold matter, unless and until the Court holds otherwise, this will be a jury trial, and we understand
Plaintiffs’ proposal of pretrial exchanges is made under that assumption. Our counter proposals are all based on that
same assumption. If the Court holds that there will be no jury trial, then we will need to discuss with the Court what
form of proceedings would be appropriate.

In the context of a jury trial:

We see no need for further motion-in-limine practice. The parties have already engaged in such motion practice, the
Court has ruled, and those orders and the stipulations/agreements the parties made with respect to the April 2023
trial remain in effect. To the extent the parties have any questions about those rulings, they can raise those
questions at the Pretrial Conference on October 28th.

Likewise, the Court has already ruled on the jury instructions and verdict form. For those, we suggest the parties
meet and confer to discuss whether there is any need to conform those to the elimination of certain issues from this
case e.g., Plaintiff’s withdrawal of certain claims). Accordingly, Apple proposes that the parties use the prior jury
instructions and verdict form as a base (restating both sides’ prior objections), with each party proposing edits to the
final instructions and verdict form based on an agreed-to schedule. We suggest that the parties simultaneously
exchange any new proposed instructions, any new objections to existing instructions, and any alterations to their
proposed verdict forms by September 18 and meet and confer on the disputed issues on September 20—as
contemplated by the Court’s May 23, 2024 scheduling order. During that meet and confer, the parties can discuss
timing for any additional exchanges if necessary before the jury instructions and verdict forms are due on October 28.
   

For exhibit lists and witness lists, we are open to certain reasonable modifications—including, for example, to
eliminate now-irrelevant materials.     

We further understand the Final Pretrial Conference Order (to be filed on Oct. 15) will be substantively the same as
the prior filing (Dkt. 1483) aside from removal of any references related to the dismissed claims regarding the alleged
business trade secrets, removal of any dropped claims, and any changes to witness lists, exhibit lists and/or
deposition designations.

For deposition highlighting, we propose the same colors as the parties previously used:    

                                                              Proposed Highlighting
           Depo Designations (Nov. 5 lodging deadline)        Colors
                                                              Masimo      Apple
           Depo. Design.                                       Green      Yellow
           Counter Depo. Design and Obj.                      Blue        Orange


                                                                                                               Exhibit A
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         Counter-Counter Depo. Design. and Obj.                Purple        Pink

Finally, we propose modification to Plaintiffs’ proposed dates as shown below.

Please provide Plaintiffs’ positions on Apple’s proposal by September 4. If Plaintiffs have additional issues they would
like to discuss before the L.R. 16-2 conference, please identify them by that date.

As to the parties’ meet and confer on September 18, 2024 pursuant to L.R. 16-2, we are available from 9 am to 12 pm
PT. Please let us know what time works for lead trial counsel and confirm that, consistent with how the parties
previously handled the meet and confer, the conference may proceed telephonically.

Thank you,
Nora

         Event (exchanges to occur at 5:30 PST         Court Ordered         Masimo Proposed        Apple Proposed
         on date provided)                             Date                  Date                   Date (if different)
         Witness list                                                        9/9/2024               9/6/2024
         Depo designations                                                   9/11/2024              9/13/2024
         Exhibit list                                                        9/11/2024              9/13/2024
         Exchange exhibits (unendorsed)                                      9/13/2024              9/17/2024
         Exchange list of MILs                                               9/18/2024              n/a
         LR 16-2 meet and confer (Dkt. 1946)           9/18/2024
         Meet and confer on MILs                                             9/23/2024              n/a
         Masimo draft proposed Pretrial                                      9/25/2024
         Conference Order
         MIL opening (Dkt. 1946)                       9/30/2024                                    n/a
         Counter depo designations/objections                                10/2/2024              9/20/2024
         Apple redlines to proposed Pretrial                                 10/4/2024
         Conference Order
         MIL opposition (Dkt. 1946)                    10/7/2024                                    n/a
         Deadline for ADR (Dkt. 1946)                  10/10/2024
         Exhibit list objections                                             10/10/2024             10/3/2024
         Counter-counter depo                                                10/11/2024             9/27/2024
         designations/objections
         MIL reply (Dkt. 1946)                         10/14/2024                                   n/a
         Lodge pretrial documents (Dkt. 1946)          10/15/2024
         Pretrial Conference (Dkt. 1946)               10/28/2024
         Trial (Dkt. 1946)                             11/5/2024




From: Kendall Loebbaka <Kendall.Loebbaka@knobbe.com>
Sent: Friday, August 30, 2024 4:41 PM
To: WH Apple-Masimo Service List <WHApple-MasimoServiceList@wilmerhale.com>; Apple-Masimo <apple-
masimo@haynesboone.com>; *** Apple-Masimo <apple-masimo@gibsondunn.com>
Cc: Masimo.Apple <Masimo.Apple@knobbe.com>
Subject: Masimo v Apple (Cal) - Proposed Pretrial Schedule


EXTERNAL SENDER



                                                                                                               Exhibit A
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Counsel,

Masimo proposes that the parties agree to a pretrial exchange schedule for the November 5 trial. Please see
Masimo’s proposal below.

 Event                                                         Court Ordered Date          Masimo Proposed Date
 Witness list                                                                              9/9/2024
 Depo designations                                                                         9/11/2024
 Exhibit list                                                                              9/11/2024
 Exchange exhibits (unendorsed)                                                            9/13/2024
 Exchange list of MILs                                                                     9/18/2024
 LR 16-2 meet and confer (Dkt. 1946)                           9/18/2024
 Meet and confer on MILs                                                                    9/23/2024
 Masimo draft proposed Pretrial Conference Order                                            9/25/2024
 MIL opening (Dkt. 1946)                                       9/30/2024
 Counter depo designations/objections                                                       10/2/2024
 Apple redlines to proposed Pretrial Conference                                             10/4/2024
 Order
 MIL opposition (Dkt. 1946)                                    10/7/2024
 Deadline for ADR (Dkt. 1946)                                  10/10/2024
 Exhibit list objections                                                                    10/10/2024
 Counter-counter depo designations/objections                                               10/11/2024
 MIL reply (Dkt. 1946)                                         10/14/2024
 Lodge pretrial documents (Dkt. 1946)                          10/15/2024
 Pretrial Conference (Dkt. 1946)                               10/28/2024
 Trial (Dkt. 1946)                                             11/5/2024

Best regards,
Kendall

Kendall Loebbaka
Partner
949-721-7687 Direct
Knobbe Martens



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                                                                                                                         Exhibit A
                                                                                                                         Page 17
